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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                                     :
JAKUB MADEJ                                          :
                                                     :       CIVIL ACTION NO.
                      PLAINTIFF                      :       3:20-cv-00133-JCH
                                                     :
v.                                                   :
                                                     :
YALE UNIVERSITY, MARVIN CHUN,                        :
MARK SCHENKER, PETER SALOVEY AND                     :
JESSIE ROYCE HILL                                    :
                                                     :
                      DEFENDANTS                     :
                                                     :       MAY 19, 2020

  MEMORANDUM IN SUPPORT OF MOTION FOR EXPEDITED HEARING ON
MOTION TO STAY DISCOVERY PENDING RESOLUTION OF THE DEFENDANTS’
                      MOTION TO DISMISS

       The defendants have moved for an expedited telephonic hearing on their Motion to Stay

Discovery Pending Resolution of the Defendants’ Motion to Dismiss (“Motion to Stay

Discovery”) (Entry No. 94). The defendants request that the hearing be scheduled as soon as the

Court’s schedule permits. This memorandum is submitted in support of that motion.

                                 FACTUAL BACKGROUND

       Due to the fact that defense counsel’s office has been largely closed, with defense counsel’s

assistant and paralegal both working exclusively from their homes, defense counsel has repeatedly

asked the plaintiff to limit communications so that he e-mails only defense counsel and does not

use any other form of communication, such as texting, certified mail, fax or US Postal Service

mail. It is noteworthy that at the start of the litigation, prior to the commencement of the COVID

crisis and the implementation of the stay-at-home orders, the plaintiff was limiting his

communications in that fashion. However, for reasons known only to the plaintiff, he began a

campaign of harassment in which he has done all of the following: (a) sent communications and
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pleadings by fax and regular mail; (b) sent communications and pleadings to others (including

defense counsel’s clients) without sending a copy to defense counsel; (c) repeatedly sending

communications to defense counsel’s home, seeking to have certified copies signed, despite

repeated requests that he not do so in order to not risk spreading the COVID virus to defense

counsel’s wife who is immuno-compromised;1 (d) sending multiple copies of communications and

pleadings through different modes of delivery to defense counsel, defense counsel’s staff and

clients despite having been asked not to do so; and (e) sending some communications and

pleadings directly to the defendants, as well as non-defendant Yale employees, without providing

copies to defense counsel. In light of the plaintiff’s behavior, the defendants filed their Motion to

Stay Discovery on May 12, 2020. Since that date, the plaintiff’s harassment has not abated; in

fact, it has increased. He has sent additional packages to the home of defense counsel, the home

of defense counsel’s paralegal, and the homes of three lawyers employed by Yale’s Office of

General Counsel; and he has attempted to unilaterally schedule depositions during the months of

May and June, despite this Court ordering several times in this litigation that depositions would be

postponed until August, at the very earliest. The most recent Notices of Subpoena arrived by

Priority mail at defense counsel’s office (not sent by e-mail as requested) on May 19 and purport

to require the depositions in June of Harold Rose, Caroline Hendel, and Susan Sawyer, all of whom

are lawyers employed in Yale University’s Office of General Counsel. Furthermore, the plaintiff

has sent Requests for Admission to non-parties, despite his knowledge that Requests for




1
  The plaintiff has known from an early date that defense counsel is attempting to keep strangers out of his house and
away from his wife due to her at-risk status. Since that date, defense counsel has repeatedly asked that the plaintiff
stop sending written materials to his home, and the plaintiff has continued to ignore that request. See, April and May,
2020 e-mail communications between plaintiff and defense counsel attached hereto as Exhibit A. The most recent
communication sent to defense counsel’s home was on May 15, 2020.


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Admission may only be directed to a party in the litigation.2

        The reason defense counsel has requested, repeatedly, that the plaintiff limit his mode of

communication to e-mail is that e-mail is by far the fastest, most efficient, most reliable and least

expensive method for both the plaintiff and defendant to receive written communications. Due to

the fact that defense counsel’s office is largely closed, mail is not opened every day and faxes are

not seen every day. Furthermore, scanning non-electronic communications has become more

difficult. Hence, e-mail communications are much more efficient for defense counsel’s office

staff. Defense counsel has also explained to the plaintiff that he would appreciate not receiving

multiple copies of the same item, and not to have multiple copies sent to various individuals in

defense counsel’s office. The reason for that is, again, efficiency; as more copies are received,

someone must read each copy to determine whether or not it is something different or something

new, all of which makes the litigation more expensive.

        There is certainly no disadvantage to the plaintiff in requiring that he limit his

communications to e-mail; that is also the cheapest and most efficient form of communication for

him. Instead, the plaintiff has insisted upon sending numerous articles to defense counsel’s home,

thereby jeopardizing the health of defense counsel’s wife. All of this he has done despite having

been informed that defense counsel does not want anything delivered to his home. Similarly, the

plaintiff has taken it upon himself to deliver things to the home of defense counsel’s paralegal and

to communicate directly with the defendants, as well as non-defendant Yale employees, despite

repeated requests that he refrain from doing so. Given that e-mail is a cheaper method for serving

documents on defense counsel than mail, certified mail and faxing, and in light of the fact that the



2
  See, Exhibits E, F. The plaintiff notes on page two of the Requests for Admission that he is not permitted to send
this Request for Admission under the rules; yet he sent it.


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plaintiff gains no advantage by engaging in this behavior, it is difficult to ascribe to the plaintiff’s

refusal to comply with defense counsel’s requests any motive other than a desire to annoy, vex and

harass the defendants and defense counsel. The Federal Rules are specifically designed to prevent

that type of behavior. Fed.R.Civ.P.26(c).

        Given the increase in the plaintiff’s inappropriate communications since the filing of the

Motion to Stay Discovery, it has become apparent that the defendants, as well as the Court, will

be inundated with new pleadings, which in turn will generate a plethora of motions if the Motion

to Stay Discovery is not granted expeditiously. It is important to note at the outset that the plaintiff

will not be prejudiced by the granting of the Motion to Stay Discovery. The Court has already

ruled that depositions should not be undertaken until at the earliest August, 2020. As to documents,

the plaintiff is already in possession of all relevant documents, since all of them have been marked

as exhibits in prior pleadings. Consequently, the granting of this motion will not in any way inhibit

the plaintiff from pursuing this action, but it will spare the defendants and the Court substantial

time and expense.

        At the time the defendants filed their Motion to Stay Discovery on May 12, 2020, the

plaintiff had already issued the following subpoenas and discovery requests:

    •   An April 30, 2020 subpoena commanding Attorney Patrick Noonan to appear at a
        deposition on May 28, 2020 was delivered to Attorney Noonan at his home via USPS on
        May 3, 2020.

    •   A second April 30, 2020 subpoena commanding Attorney Noonan to appear at a deposition
        on May 28, 2020 was sent to Attorney Noonan’s office on May 4, 2020.

    •   A third April 30, 2020 subpoena commanding Attorney Noonan to appear at a deposition
        on May 28, 2020 was delivered to Attorney Noonan at his home via FedEx on May 5,
        2020.

    •   Five May 4, 2020 subpoenas directed to Jason Shaw, Keshav Raghavan, Benjamin Glaser,
        and Helena Lyng-Olsen, all of whom are members of Yale University’s Committee on
        Honors and Academic Standing (“CHAS”), and Yale University Police Department

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        commanded them to produce documents at various times. The notices of intent to serve
        subpoenas and copies of the subpoenas were sent to Attorney Noonan via fax on May 7,
        2020.

    •   May 6, 2020 Requests for Admissions directed to nonparty Deborah Hackett, who is a
        paralegal in Attorney Noonan’s office, were sent to Ms. Hackett via e-mail on May 6, 2020.
        These Requests for Admission were also sent to Ms. Hackett’s home address.

    •   May 6, 2020 Requests for Admission directed to Yale University were sent to defense
        counsel via e-mail on that date.

    •   May 7, 2020 Requests for Admissions directed to Mark Schenker were sent to defense
        counsel via e-mail on that date.

    •   May 8, 2020 Requests for Admissions directed to Yale University were sent to defense
        counsel via e-mail on that date.

        The plaintiff thereafter improperly contacted defense counsel’s clients. On May 9, 2020,

the plaintiff directly contacted Alexander Dreier, the General Counsel for Yale University, by e-

mail. The plaintiff indicated that he intended to send further communications to the General

Counsel’s office. That same day the plaintiff also contacted Mr. Keshav Raghavan, a member of

CHAS, and purported to offer him legal advice: “You are not in any way related to the legal action

between me and Yale, and I wish to minimize the burden of my request on you. If you have any

questions about what you can do to comply or to object, and what other options you have, give me

a call at [phone number].”3 It is noteworthy that the plaintiff has now twice sent subpoenas directly

to Mr. Raghavan.

        Subsequent to the defendants’ May 12, 2020 filing, the plaintiff has issued further

subpoenas and requests for admissions, many of which are duplicates:



3
  All of the foregoing requests for admission, subpoenas, and communications are attached to the defendants’ Motion
to Stay Discovery. At various times, the plaintiff has claimed to be unemployed and unable to work due to his Visa
status, and therefore without funds. The discovery documents attached to the Motion to Stay Discovery and this
motion reveal that he has purportedly signed the documents in the following locations: Barstow, California;
Bakersfield, California; Las Vegas, Nevada; Phoenix, Arizona; Tempe, Arizona; and the county of Dallas, Texas.


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    •   Yet another subpoena dated May 8, 2020 commanding Attorney Noonan to appear at a
        deposition on June 8, 2020 (the earlier ones were for May 28) was mailed and then received
        at Attorney Noonan’s office on May 13, 2020. The United States Postal Service then left a
        notice that it attempted to deliver a certified letter to Attorney Noonan at his home on May
        15, 2020, but was unable to do so because he was not present to sign for it. The plaintiff
        later e-mailed Attorney Noonan that he had sent the subpoena by certified mail.4 In all, the
        plaintiff sent five subpoenas for defense counsel’s deposition, despite the fact that,
        obviously, defense counsel has no first-hand knowledge of any fact relevant to this matter
        and despite the fact that the Court has already ruled that depositions will not proceed at the
        present time.

    •   A May 8, 2020 subpoena commanding Attorney Caroline Hendel, an attorney in Yale
        University’s Office of the General Counsel, to appear at a deposition on June 12, 2020 was
        received by Attorney Hendel at her home on May 14, 2020.5 Neither that subpoena nor
        any notice of it was sent to Attorney Noonan.

    •   The May 4, 2020 subpoenas directed to the four CHAS members and Yale University
        Police Department and the notices thereof which had already been faxed to Attorney
        Noonan’s office on May 7, 2020 were thereafter mailed to Attorney Noonan at his office
        and received on May 15, 2020.6

    •   The May 6, 2020 Requests for Admissions and notice thereof e-mailed to Ms. Hackett on
        May 6, 2020 and later mailed to her home were then delivered a second time, via certified
        mail, to Ms. Hackett’s home on May 15, 2020.7

    •   The May 6, 2020 Requests for Admissions e-mailed to Ms. Hackett were also sent by
        Priority mail to Attorney Noonan’s office on May 15, 2020, despite defense counsel’s
        repeated requests that all communications be e-mailed to him.8

    •   A May 11, 2020 subpoena commanding Attorney Harold Rose, an attorney in Yale
        University’s Office of the General Counsel, to appear at a deposition on June 18, 2020 was
        delivered to Attorney Noonan’s office via Priority mail on May 19, 2020. Included was a

4
 A copy of the May 8, 2020 subpoena directed to Attorney Noonan is attached hereto as Exhibit B. The notice of
subpoena was signed in Las Vegas, Nevada.
5
 A copy of the May 8, 2020 subpoena directed to Attorney Hendel and received at her home is attached hereto as
Exhibit C.

6
 Copies of the duplicate subpoenas received at Attorney Noonan’s office on May 15, 2020 are attached hereto as
Exhibit D.

7
 Copies of the duplicate Requests for Admission and the notice thereof received by Ms. Hackett at her home on May
15, 2020 are attached hereto as Exhibit E.

8
 A copy of the Requests for Admission directed to Ms. Hackett received at Attorney Noonan’s office on May 15,
2020 is attached hereto as Exhibit F.


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         letter addressed to Attorney Rose at his home address.9 Attorney Rose received the
         subpoena via mail at his home on May 19, 2020. There was certainly no need to invade
         his personal privacy by sending it to his home.

     •   A May 11, 2020 notice that the plaintiff intended to serve a subpoena directed to Attorney
         Hendel on May 11, 2020 was delivered to Attorney Noonan’s office via Priority mail on
         May 19, 2020. The subpoena accompanying that notice is blank. Included was a letter
         addressed to Attorney Hendel at her home address.10 As noted above, Attorney Hendel
         received the subpoena via mail at her home on May 14, 2020. There was certainly no need
         to invade her personal privacy by sending it to her home.

     •   A May 11, 2020 subpoena commanding Attorney Susan Sawyer, an attorney in Yale
         University’s Office of the General Counsel, to appear at a deposition on June 15, 2020 was
         delivered to Attorney Noonan’s office via Priority mail on May 19, 2020. Included was a
         letter addressed to Attorney Sawyer at her home address.11

         It is apparent from plaintiff’s discovery responses that he intends to continue his harassment

of the defendants and defense counsel if the Motion to Stay is not granted. On May 18, 2020, defense

counsel received, by mail, the plaintiff’s responses to the defendants’ April 13, 2020 discovery

requests.12 In response to Interrogatory # 1 requesting that the plaintiff “[i]dentify by name, address

and telephone number each individual who has knowledge or information regarding the allegations

of your complaint and provide a description of each individual’s knowledge or information,” the

plaintiff estimated that the “number of such individuals exceeds 150 people, and may reach 500.”

(Ex. J, p. 14.) He then listed 56 individuals who have “material knowledge about events in the

plaintiff’s case.” (Ex. J, p. 15.) Among those individuals are attorneys and staff members of Yale



9
 Copies of the notice, subpoena, letter, and tender of subpoena fees directed to Attorney Rose and received by
Attorney Noonan on May 19, 2020 are attached hereto as Exhibit G.

10
  Copies of the notice, subpoena, letter, and tender of subpoena fees directed to Attorney Hendel and received by
Attorney Noonan on May 19, 2020 are attached hereto as Exhibit H.

11
  Copies of the notice, subpoena, letter, and tender of subpoena fees directed to Attorney Sawyer and received by
Attorney Noonan on May 19, 2020 are attached hereto as Exhibit I.

12
  A copy of the defendants’ April 13, 2020 discovery requests and the plaintiff’s responses thereto are attached hereto
as Exhibit J.


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University’s General Counsel’s Office: Alexander Dreier, Harriet Cooper, Denise Gilmore, Susan

Sawyer, Caroline Hendel, and Harold Rose. He also lists Dorothy Robinson, who retired from her

position as Yale University’s General Counsel in 2014, more than five years before any of the events

alleged in the plaintiff’s complaint occurred. The list includes Attorney Patrick Noonan and Attorney

Colleen Noonan Davis, who represent the defendants in the above captioned action. (Ex. J, p. 16-17.)

It is clear that the plaintiff intends to improperly seek to depose and/or elicit production of documents

from individuals involved in the representation of the defendants in this action. In fact, the plaintiff

has already served subpoenas on Attorneys Noonan, Hendel, Rose, and Sawyer.

        The plaintiff also lists employees of Yale University, including professors, administrative

assistants, research scholars, and a number of students. (Ex. J, p. 15-18.) With the exception of the

professor who assigned the plaintiff the failing grade in ECON 456, the plaintiff’s college dean and

her assistant, and the members of CHAS involved in deciding the plaintiff’s petition to CHAS, none

of these people has any relationship to, or knowledge of, any information that is even remotely

relevant to the plaintiff’s claims in this case.

        The plaintiff also listed as persons with knowledge of the facts underlying his complaint Jane

Does 1 through 100, whom he claims are Yale College students who were “withdrawn from Yale

College involuntarily, through specific actions, negligent or unethical, by Yale’s senior

management.” (Ex. J, p. 15, 17.) In addition, the plaintiff has listed as persons with knowledge of

the facts of this case three out of state attorneys, Jorge Hernandez, Stuart Bernstein, and Laura

Studen, who have represented plaintiffs in unrelated actions brought against Yale University.

None of those cases involved CHAS and none involved any discipline imposed for academic

reasons. One was an employment matter involving a Yale faculty member and the other two

related to students charged with violating Yale’s Sexual Misconduct policies. It is clear that the



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three attorneys have no personal knowledge relevant to the present plaintiff’s claims. Despite that

fact, it appears that the plaintiff will seek the discovery of confidential, personal information about

the plaintiffs in each of those cases, as well as the academic information relating to the 100 Jane

Does whom the plaintiff claims were involuntarily withdrawn for academic reasons.

       On May 19, 2020, the date the present motion is being filed, the plaintiff sent another

mailing (not an e-mail as requested) to defense counsel’s office, subpoenaing Harold Rose,

Caroline Hendel, and Susan Sawyer, all of whom are lawyers employed by the Office of General

Counsel at Yale, for depositions in June, 2020. Putting aside that Attorneys Rose, Hendel, and

Sawyer have no first-hand information relevant to this dispute, the subpoenas seek to circumvent

this Court’s prior orders, in that Judge Hall has already ruled several times that depositions may

not be taken sooner than August, 2020.

                                          CONCLUSION

       Over the past two weeks, the plaintiff has issued subpoenas for depositions to occur prior to

August, 2020 in direct contravention of this Court’s prior orders, wrongfully contacted Attorney

Noonan’s clients, and improperly utilized the discovery process. His discovery responses clearly

indicate that he intends to abuse the discovery process, which will result in the filing of a myriad of

motions in connection with discovery disputes. For these reasons, the defendants now request that an

expedited telephonic hearing on their Motion to Stay Discovery be scheduled as soon as the Court’s

schedule permits. Granting this relief will spare defendants and the Court the time and expense that

would otherwise be consumed with motions in response to plaintiff’s improper filings and

communications. Granting this motion will not prejudice the plaintiff in any way; depositions are not

to be undertaken until August, 2020, and the plaintiff is already in possession of all documents in

defendants’ possession which have any relevance to this matter. Accordingly, the defendants request



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that the Court expedite the hearing on the defendants’ Motion to Stay Discovery, and convene a

telephone hearing as soon as the Court’s schedule permits.




                                                THE DEFENDANTS,

                                                YALE UNIVERSITY, MARVIN CHUN, MARK
                                                SCHENKER, PETER SALOVEY AND JESSIE
                                                ROYCE HILL


                                          By:                 /s/
                                                PATRICK M. NOONAN – CT00189
                                                COLLEEN NOONAN DAVIS – CT27773
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                                    CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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